        Case 1:19-cr-00090-SPW Document 162 Filed 01/12/21 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                           CR 19-90-BLG-SPW


                           Plaintiff,                       ORDER


           vs.



 MEREDITH McCONNELL,
 BARBARA MARY DAYCHIEF and
 SHERYL LYNN LAWRENCE,

                           Defendants.



      This matter comes before the Court on Defendant Meredith McConnelPs


Motion in Limine (#4), filed 12/17/2020, seeking to exclude any testimony or

reference to allegations that McConnell has a gambling habit.(Doc. 139). The

Government responded to the Motion on 12/28/2020.(Doc. 141). The Motion is

now deemed ripe and ready for adjudication.

      I.    LEGAL STANDARD


      A motion in limine "is a procedural mechanism to limit in advance

testimony or evidence in a particular area." United States v. Heller, 551 F.3d 1108,

1111 (9th Cir. 2009). District courts have broad discretion to make evidentiary
Case 1:19-cr-00090-SPW Document 162 Filed 01/12/21 Page 2 of 4
Case 1:19-cr-00090-SPW Document 162 Filed 01/12/21 Page 3 of 4
Case 1:19-cr-00090-SPW Document 162 Filed 01/12/21 Page 4 of 4
